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               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

UNITED STATES OF AMERICA

v.                                             Case No. 5:24-CR-11-MW/MJF

DEAN PADGETT
                                           /

                       BRADY v. MARYLAND NOTICE

      Pursuant to Rule 5(f)(1) of the Federal Rules of Criminal Procedure, and

consistent with Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, the

government must produce to defendant or defendant’s counsel information that is

material and exculpatory and which is known to the prosecutors or those working on

the government’s behalf in this case. The government must produce such

information such that the defendant or defendant’s counsel effectively might use

such information at trial and sentencing, respectively. Failure to produce such

information timely may result in exclusion of evidence, adverse jury instructions,

dismissal of charges, contempt proceedings, or other sanctions.

      SO ORDERED on March 28, 2024.

                                /s/ Michael J. Frank
                                Michael J. Frank
                                United States Magistrate Judge
